                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE


RICHARD A. JOHNSON, et al                         )
                                                  )
                                                  )
                     Petitioner                   )
                                                  )
v.                                                )      NO. 3:11-0866
                                                  )      JUDGE BRYANT
                                                  )
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                                                  )
                                                  )
PRUDENTIAL INSURANCE COMPANY                      )
OF AMERICA, INC.                                  )
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                                                  )
                                                  )
                                                  )
                    Respondent                    )

                                  ENTRY OF JUDGMENT


              Judgment is hereby entered as to J. C. Reed Advisory Group, LLC for purposes of
Rule 58(a) and/or Rule 79(a) of the Federal Rules of Civil Procedure on 3/29/13.



                                                  KEITH THROCKMORTON, CLERK
                                                  s/Althea F. Straughter, Deputy Clerk




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